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                   UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY
                        CAMDEN VICINAGE

                                                     MDL No. 2875
  IN RE: VALSARTAN, LOSARTAN,
  AND IRBESARTAN PRODUCTS                     Honorable Renée Marie Bumb,
  LIABILITY LITIGATION                                Chief Judge

                                                      ORDER
  This Document Relates to:                       ESTABLISHING
                                                  AMENDED CASE
  Smalls v. Zhejiang Huahai                       MANAGEMENT
  Pharmaceutical Co., Ltd. et al.                   SCHEDULE
  Case No. 1:20-cv-08199-RMB-SAK                   FOR WAVE 2
                                                BELLWETHER CASES
  Garcia v. Zhejiang Huahai
  Pharmaceutical Co., Ltd. et al.
  Case No. 1:20-cv-07957-RMB-SAK

  Suits v. Zhejiang Huahai
  Pharmaceutical Co., Ltd et al.
  Case No. 1:20-cv-06547-RMB-SAK

  Lee v. Zhejiang Huahai
  Pharmaceutical Co., Ltd. et al.
  Case No. 1:20-cv-15324-RMB-SAK




       The Special Master Having Previously Entered the Order Establishing

 Amended Case Management Schedule for Wave 2 Bellwether Cases on May 14,

 2025 (ECF No. 3054),
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       The Parties Having Met and Conferred, to agree upon the second amended

 case management schedule for the second wave of potential personal injury

 bellwether plaintiff (“Wave 2 BW”) trials in the following matters:

    1. Garcia, Robert – 1:20-cv-07957

    2. Lee, Robert – 1:20-cv-15324

    3. Smalls, Evon – 1:20-cv-08199

    4. Suits, James – 1:20-cv-06547

       Having Reviewed the proposed, agreed-upon, second amended schedule,

       IT IS ORDERED: the deadlines for the four above matters previously

 established in ECF No. 3054 and ECF 2988 are amended and the deadlines for the

 four above matters are:


  Wave 2 BW Trial Event                                            Wave 2 BW
                                                                   Trial Date
  Deadline to amend Plaintiff Fact Sheet                           3/14/2025
  Close of case-specific fact discovery                            6/23/2025
  Deadline for Plaintiff to designate experts and serve expert     6/30/2025
  report(s)
  Deadline for Defendants to designate experts and serve expert 8/15/2025
  report(s)
  Depositions of experts                                        8/15/2025 –
                                                                9/19/2025
  Close of expert discovery                                     9/19/2025
  Deadline for parties to exchange deposition designations      9/30/2025
                                                                (Completion of
                                                                rolling
                                                                exchange)
  Deadline to file: (i) Rule 702 motions; and (ii) summary      10/8/2025
  judgment motions

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  Deadline to submit deposition designations, objections, and          10/27/2025
  counter-designations to the Court
  Deadline to file oppositions to: (i) Rule 702 motions; and (ii)      11/10/2025
  summary judgment motions
  Deadline to file replies in further support of: (i) Rule 702         11/24/2025
  motions; and (ii) summary judgment motions
  Parties to submit (joint or separate if no agreement) position       3 business days
  statement(s) to Court on proposed selection of Wave 2                after the Court’s
  bellwether trial case                                                ruling on Rule
                                                                       702/MSJs
  Deadline to file motions in limine                                   12/15/2025*
  Deadline to file oppositions to motions in limine                    1/12/2025*
  Deadline to submit joint final pretrial order                        1/15/2025*

 * Dates to be adjusted pending Court’s identification of trial start date


      June 16, 2025                      /s/ Thomas I. Vanaskie
                                         Hon. Thomas I. Vanaskie (Ret.)
                                         Special Master




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